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13
14    UNITED STATES OF AMERICA,          ) CR No. 07-1142-VBF
                                         )
15                     Plaintiff,        )
                                         )
16                   v.                  )
                                         )
17    CHARLES LEROY TWYMAN,              )
           et al.,                       )
18                                       )
                    Defendants.          )
19                                       )
      UNITED STATES OF AMERICA,          )   CR No. 07-1162-VBF
20                                       )
                       Plaintiff,        )   GOVERNMENT’S POSITION RE:
21                                       )   PRESENTENCE REPORT AND
                     v.                  )   SENTENCING FACTORS FOR
22                                       )   DEFENDANT ANTHONY DEWAYNE
      ANTHONY DEWAYNE TWYMAN,            )   TWYMAN
23                                       )
                    Defendant.           )   DATE: November 9, 2009
24                                       )   TIME: 11:00 a.m.
                                         )   PLACE: Courtroom of the Hon.
25                                       )          Valerie Baker Fairbank
                                         )
26
27
28
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 1         Plaintiff, United States of America, through its attorney of
 2   record, the United States Attorney’s Office for the Central
 3   District of California, hereby files the Government’s Position
 4   re:   Presentence Report and Sentencing Factors for Defendant
 5   Anthony Dewayne Twyman.      The government’s position is based upon
 6   the concurrently-filed memorandum of
 7   points and authorities, the files and records of this case, the
 8   Presentence Report, and any evidence or argument presented at the
 9   hearing in this matter.
10
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 1                                        I
 2                                  INTRODUCTION
 3         Defendant Anthony Dewayne Twyman ("Anthony Twyman") is
 4   before the Court for sentencing after pleading guilty to counts
 5   eight and nine of the Indictment in United States v. Charles
 6   Leroy Twyman, et al., Case No. CR No. 07-1142-VBF, each of which
 7   charges Use of a Communication Facility in Committing a Felony
 8   Drug Offense, in violation of Title 21, United States Code,
 9   Section 843(b), and to the single-count Indictment in United
10   States v. Anthony Dewayne Twyman, Case CR No. 07-1162-VBF, which
11   charges being a Felon in Possession of a Firearm, in violation of
12   Title 18, United States Code, Section 922(g)(1).1
13         After lengthy negotiations with Anthony Twyman, Charles
14   Leroy Twyman, and Michael Lynn Twyman (collectively, "the Twyman
15   brothers"), Anthony Twyman pleaded guilty to a plea agreement
16   pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C).            In
17   that plea agreement, the parties agreed that the appropriate
18   sentence for both of these cases is 156 months imprisonment.2
19
20
21         1
               The statutory maximum sentence that the Court can
     impose for each violation of Title 21, United States Code,
22   Section 843(b), is 4 years imprisonment, a 3-year period of
     supervised release, a fine of up to $250,000, and a mandatory
23   special assessment of $100. The statutory maximum sentence that
     the Court can impose for a violation of Title 18, United States
24   Code, Section 922(g)(1), is 10 years imprisonment, a 3-year
     period of supervised release, a fine of up to $250,000, and a
25   mandatory special assessment of $100.
26         2
               The 156-month sentence mathematically represents the
     statutory maximum for two counts of Use of a Communication
27   Facility in Committing a Felony Drug Offense (96 months) and half
     the statutory maximum for the Felon in Possession of Firearms and
28   Ammunition count (60 months).

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 1                                        II
 2                                      FACTS3
 3         On March 8, 2006, Anthony Twyman communicated with his
 4   brother, Charles Leroy Twyman over the telephone.           (PSR ¶ 16.)
 5   During this telephone communication, Anthony Twyman and Charles
 6   Leroy Twyman discussed, in coded language, Anthony Quin Wheeler's
 7   payment to Charles Leroy Twyman for 114 grams of cocaine base, in
 8   the form of crack cocaine ("crack cocaine"), that had been
 9   manufactured by Gerald Plaze Thomas ("Thomas").          (PSR ¶ 16.)
10         On March 20, 2006, Anthony Twyman again used a telephone to
11   communicate with Charles Leroy Twyman.         (PSR ¶ 17.)    During this
12   telephone communication, the brothers discussed, in coded
13   language, the 148 grams of crack cocaine that Thomas had
14   delivered to another brother, Michael Lynn Twyman on
15   March 10, 2006.     (PSR ¶ 17.)
16         At all relevant times, Anthony Twyman understood that he,
17   Charles Leroy Twyman, Michael Lynn Twyman, Gerald Plaze Thomas,
18   and Anthony Quin Wheeler were conspiring to manufacture, possess
19   with intent to distribute, and distribute crack cocaine and the
20   telephone calls related to that conspiracy.          (PSR ¶ 18.)
21         On July 27, 2006, during the execution of a lawful search
22   warrant at Anthony Twyman's residence, law enforcement found and
23   seized the three firearms:       (1) Sig-Sauer P229, 40-caliber
24   semiautomatic pistol; (2) Colt Python .357 magnum revolver;
25   (3) Wesson Arms .357 magnum revolver.         (PSR ¶ 19.)    In addition,
26
27         3
               Except as otherwise noted, pursuant to
     Rule 32(i)(3)(A), the government respectfully requests the Court
28   accept the "undisputed portion[s] of the presentence report as a
     finding of fact."

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 1   law enforcement found and seized 60 rounds of Remington-Peter
 2   .357 magnum ammunition and 6 rounds of Winchester Western .38
 3   special ammunition.4     (PSR ¶ 19.)      Further, at the time Anthony
 4   Twyman possessed the firearms and ammunition, he had been
 5   convicted of four felonies.5       (PSR ¶ 21.)
 6                                       III
 7                 FACTUAL CORRECTIONS TO PRESENTENCE REPORT
 8         The government does not have any factual corrections to the
 9   Presentence Report.
10                                        IV
11                          SENTENCING RECOMMENDATION
12   A.    Legal Standard
13         When the government and a defendant enter into a plea
14   agreement where the government "agree[s] that a specific sentence
15   or sentencing range" should apply, that plea is governed by
16   Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure.             If
17   the plea agreement is governed by Rule 11(c)(1)(C), the court has
18
           4
               All of the above firearms and ammunition had been
19   manufactured outside of the State of California and had been
     shipped or transported in interstate and/or foreign commerce.
20   (PSR ¶ 20.)
21         5
               Anthony Twyman's convictions include the following
     felonies: (1) Burglary, Second Degree, in violation of Section
22   459 of the California Penal Code, in the Superior Court of
     California, County of Orange, Case Number C-50491, on or about
23   April 18, 1983; (2) Possession for Sale of Cocaine Base, in
     violation of Section 11351.5 of the California Health and Safety
24   Code, in the Superior Court of California, County of Los Angeles,
     Case Number A983290, on or about October 11, 1989; (3) Convicted
25   Person Having Concealed Firearm in Vehicle, in violation of
     Section 12025(a) of the California Penal Code, in the Superior
26   Court of California, County of Los Angeles, Case Number BA018630,
     on or about December 17, 1990; and (4) Sale/Transportation/Offer
27   to Sell a Controlled Substance, in violation of Section 11352(a)
     of the California Health & Safety Code, in the Superior Court of
28   California, County of Los Angeles, Case Number BA130433, on or
     about July 17, 1996. (PSR ¶ 21.)

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 1   three options:     "the court may accept the agreement, reject it,
 2   or defer a decision until the court has reviewed the presentence
 3   report."    Fed. R. Crim. P. 11(c)(3)(A); see Ellis v. United
 4   States Dist. Ct. for W.D. Wash., 356 F.3d 1198, 1206 (9th
 5   Cir. 2004) (en banc).      "Although the court is free to accept or
 6   reject the plea agreement, it may not do so on a piecemeal basis,
 7   and the Rule 11(c)(1)(C) stipulated sentence is binding upon the
 8   court's acceptance of the plea agreement."         United States v.
 9   Samueli, 575 F. Supp. 2d 1154, 1158 (C.D. Cal. 2008) (quoting In
10   re Morgan, 506 F.3d 705, 709 (9th Cir. 2007)), dismissing appeal,
11   ___ F.3d ____, 2009 WL 3030381 (9th Cir. Sept. 24, 2009).
12   Further,
13
           [w]hen presented with a Rule 11(c)(1)(C) plea
14         agreement, it is not only permitted but expected that
           the court will take an active role in evaluating the
15         agreement. As the district court traditionally
           exercises broad discretion over all aspects of criminal
16         sentencing, whether to accept or reject a plea
           agreement containing a stipulated sentence is likewise
17         left to the sound discretion of the court.
18   Id. (quotations and citations omitted).
19         In evaluating a Rule 11(c)(1)(C) plea agreement, a court's
20   guiding principle must be "the interest of justice."           Id.   Thus,
21   a court may consider a number of factors including those
22   enumerated in Title 18, United States Code, Section 3553(a).             See
23   United States v. Garcia, 522 F.3d 855, 858 n.3 (9th Cir. 2008)
24   (noting that district court considered Section 3553(a) factors in
25   justifying stipulated sentence).         A court also may consider the
26   United States Sentencing Guidelines ("Sentencing Guidelines") and
27   use them to justify its sentence.        See United States v.
28   Cieslowski, 410 F.3d 353, 364 (7th Cir. 2005) ("[T]he court can


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 1   and should consult the Guidelines in deciding whether to accept
 2   the plea.").     Cf. Garcia, 522 F.3d at 858 n.2 ("During
 3   sentencing, the district court acknowledged that its guidelines
 4   calculations 'appear[ed] academic because [the court] was going
 5   to accept the 11(c)(1)(C) plea agreement.'").          However, while
 6   there is a nexus between the Sentencing Guidelines and the plea,
 7   see United States v. Bride, 2008 WL 2782688, *2 (W.D. Wash.
 8   Jul. 14, 2008), aff'd, 581 F.3d 888 (9th Cir. 2009), "[a]
 9   sentence imposed under a Rule 11(c)(1)(C) plea arises directly
10   from the agreement itself, not from the Guidelines.            As Booker is
11   concerned with sentencing arising under the Guidelines, it is
12   inapplicable in this situation."          Cieslowski, 410 F.3d at 364.
13   In other words, Rule 11(c)(1)(C) plea agreements are not based on
14   the Sentencing Guidelines and need not comport with them.
15   See United States v. Pacheco-Navarette, 432 F.3d 967, 971 (9th
16   Cir. 2005).
17   B.    Government's Recommendation
18         The plea agreement before the Court is the result of a
19   substantial investment of time and effort by the government.             The
20   government repeatedly met with counsel for the Twyman brothers
21   and negotiated plea agreements that held each brother accountable
22   for his criminal conduct and were fair and just.           When it
23   prepared the plea agreements, the government first determined the
24   applicable Sentencing Guidelines ranges and analyzed the Section
25   3553(a) factors, knowing that neither were controlling.            The
26   government then conducted "an individualized analysis of the
27   specific facts presented by the case . . . ."          Morgan, 506 F.3d
28   at 711 n.3.     After completing these analyses and discussing the


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 1   cases with defense counsel, the government prepared individual
 2   plea agreements and presented them to the Twyman brothers.
 3         Based on its analysis of the facts of this specific case,
 4   the government believes that Anthony Twyman's plea agreement is
 5   "in the interest of justice" and "complies with and advances the
 6   purpose of criminal sentencing as expressed by Congress."
 7   Samueli, 575 F. Supp. 2d at 1158-59.
 8         1.     Sentencing Guideline Calculation
 9         The government concurs with the offense level calculation in
10   the PSR, which calculates a total offense level of 30.            (PSR
11   ¶¶ 25-50.)    The government also concurs with the Probation
12   Office's conclusion that a role adjustment is not appropriate.
13   (PSR ¶ 32.)     By participating in a conspiracy to traffic crack
14   cocaine, Anthony Twyman played a role that forecloses any
15   assertion that he had a minor or mitigating role.           However,
16   because Anthony Twyman's conduct did not rise to the level of an
17   organizer, leader, manager, or supervisor of others in the
18   offense, the government submits that an upward role adjustment is
19   not appropriate.
20         The government concurs with the criminal history calculation
21   provided in the PSR, which places Anthony Twyman in criminal
22   history category II.      (PSR ¶¶ 52-64.)
23         Based on an offense level of 30 and criminal history
24   category of II, Anthony Twyman's advisory Sentencing Guidelines
25   range is 108 to 135 months imprisonment.          See U.S.S.G.
26   § 5A (2009).
27
28


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 1         2.    Section 3553(a) Factors
 2               a.    Nature and Circumstances of the Offense and
                       History and Characteristics of Defendant
 3
 4         As detailed above and in the PSR, Anthony Twyman was
 5   involved in the distribution of approximately 252 grams of crack
 6   cocaine.    By doing so, Anthony Twyman participated in a
 7   conspiracy that trafficking in one of the most dangerous drugs
 8   available today.      In addition to helping traffic drugs, Anthony
 9   Twyman, a 4-time convicted felon, also illegally possessed 3
10   firearms and 66 rounds of ammunition.         There is no question that
11   guns and drugs are a dangerous combination.          However, this
12   combination in the hands of a convicted drug trafficker and
13   repeat felon is especially alarming.
14         As described in the PSR, Anthony Twyman has had interactions
15   with law enforcement since he was 16 years old.           Those
16   interactions have resulted in four convictions:
17         (1) On or about November 29, 1982, the Superior Court of
18   California, County of Orange, convicted Anthony Twyman of
19   Burglary, Second Degree, in violation of Section 459 of the
20   California Penal Code, and sentenced him to 3 years probation and
21   180 days in county jail (PSR ¶ 55);6
22         (2)   On October 11, 1989, the Superior Court of California,
23   County of Los Angeles ("Los Angeles Superior Court"),convicted
24   Anthony Twyman of Possession for Sale of Cocaine Base, in
25   violation of Section 11351.5 of the California Health and Safety
26   Code, and sentenced him to 3 years probation and 365 days in
27
           6
               Although the date in the plea agreement is listed as
28   April 18, 1983, and the date in the PSR is November 29, 1982, it
     is the same conviction.

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 1   county jail (PSR ¶ 56);
 2         (3)    On December 17, 1990, the Los Angeles Superior Court
 3   convicted Anthony Twyman of a Convicted Person Having Concealed
 4   Firearm in Vehicle, in violation of Section 12025(a) of the
 5   California Penal Code, and sentenced him to 3 years probation and
 6   45 days in county jail (PSR ¶ 57); and
 7         (4)    On July 17, 1996, the Los Angeles Superior Court
 8   convicted Anthony Twyman of Sale/Transportation/Offer to Sell a
 9   Controlled Substance, in violation of Section 11352(a) of the
10   California Health & Safety Code, and sentenced him to 3 years
11   probation and 2 days in county jail.         (PSR ¶ 58.)
12         Because of the age of the convictions, only the 1996
13   conviction is used to calculate Anthony Twyman's criminal
14   history.    Nonetheless, the Court should consider his other
15   convictions and criminal conduct to determine whether to accept
16   the Rule 11(c)(1)(C) plea agreement.
17         What is troubling about Anthony Twyman's criminal history is
18   that he has not learned from his mistakes.          Even though he has
19   twice been convicted of drug-trafficking crimes (one of which
20   involved crack cocaine), he continues to traffic in dangerous
21   drugs.    Also, even though he has been convicted of illegally
22   possessing a firearm and is barred from doing so because of his
23   prior felonies, he continues to illegally possess firearms and
24   ammunition.     In other words, Anthony Twyman is before this Court
25   for essentially the same conduct for which he previously was
26   convicted.
27         Given the above convictions and more than 20-years of
28   interactions with law enforcement enumerated in the PSR, a


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 1   sentence of 156 months imprisonment is appropriate.            An 156-month
 2   sentence also reflects the nature and circumstances of the
 3   offense and the history and characteristics of Anthony Twyman.
 4                b.   Need to Reflect the Seriousness of the Offense
 5           Participating in trafficking of approximately 262 grams of
 6   crack cocaine and the possession of firearms and ammunition by a
 7   felon are serious offenses.       Thus, a sentence of 156 months
 8   imprisonment reflects the seriousness of the offense.
 9                c.   Deterrence of Criminal Conduct
10           As detailed above and in the PSR, Anthony Twyman has been
11   convicted of four felonies, but has served next to no time in
12   jail.    Even though he has twice been convicted of trafficking
13   drugs and has once been convicted of illegally possessing a
14   firearm, the longest term of imprisonment he received was 365
15   days in county jail.      It is no wonder that these brief periods of
16   incarceration did not deter his continued criminal conduct.             The
17   government hopes that a sentence of 156 months will adequately
18   deter Anthony Twyman and others from future criminal conduct.
19                d.   Need to Protect the Public
20           The public needs to be protected from convicted felons, like
21   Anthony Twyman, who traffic in crack cocaine and illegally
22   possess firearms and ammunition.          A sentence of 156 months
23   imprisonment will protect the public and deter Anthony Twyman
24   from future criminal conduct.
25                e.   Need to Provide Defendant with Education
26           The need to provide a defendant with education and
27   vocational skills, while important in most contexts, must be
28   placed in a subordinate position to the important considerations


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 1   of deterrence, protection of the public and the need for the
 2   sentence to reflect the seriousness of the offense.            See United
 3   States v. Wilson, 350 F. Supp. 2d 910, 921-22 (D. Utah 2005)
 4   (noting that legislative history of Sentencing Reform Act
 5   demonstrates that Congress intended to place rehabilitation as
 6   secondary consideration where serious crimes involved).            Anthony
 7   Twyman will have access to many programs in the prison system to
 8   which he can avail himself.       Neither the presence nor absence of
 9   any further educational programs should weigh heavily in this
10   Court’s sentencing determination.
11                f.   Need to Avoid Unwarranted Disparity in Sentences
12         Finally, a sentence in accordance with the Sentencing
13   Guidelines also properly accounts for “the need to avoid
14   unwarranted sentence disparities among defendants with similar
15   records who have been found guilty of similar conduct.”            18
16   U.S.C. § 3553(a)(6).      Numerous courts have recognized that the
17   guidelines range serves as a bulwark against sentencing
18   disparity.    See United States v. Guerrero-Velasquez, 434 F.3d
19   1193, 1195 n.1 (9th Cir. 2006) (recognizing that guidelines “help
20   to maintain uniformity in sentencing throughout the country”);
21   United States v. Hunt, 459 F.3d 1180, 1184 (11th Cir. 2006) (“The
22   Guidelines . . . are an indispensable tool in helping courts
23   achieve Congress’s mandate to consider ‘the need to avoid
24   unwarranted sentence disparities’ among similarly situated
25   defendants.”) (quoting 18 U.S.C. § 3553(a)(6)); United States v.
26   Smith, 445 F.3d 1, 7 (1st Cir. 2006) (noting that “the guideline
27   range . . . is the principal means of complying with” the goal of
28   avoiding unwarranted sentencing disparity).


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 1         In this case, a sentence of 156 months of imprisonment is
 2   fair and reasonable.      As set forth above, the sentence that was
 3   negotiated at arms-length by the parties.          Based on his role in
 4   trafficking drugs, the government agreed to let Anthony Twyman
 5   plead to two counts of Use of a Communication Facility in
 6   Committing a Felony Drug Offense, rather than require that he
 7   plead to the conspiracy charge.        In fact, the government allowed
 8   three other similarly situated defendants (Michael Lynn Twyman,
 9   Gerald Plaze Thomas, and Anthony Quin Wheeler) to plead to counts
10   of Use of a Communication Facility in Committing a Felony Drug
11   Offense.7    This ensures that there will be no disparity between
12   Anthony Twyman's sentence and that of any similarly situated
13   defendant, with respect to the drug-related charges.
14         3.    Other Factors
15         The government recognizes that 156-month sentence is greater
16   than the applicable advisory Sentencing Guidelines range.             The
17   government believes this sentence is appropriate for a number of
18   reasons.
19         First, the plea agreement allows Anthony Twyman to plead
20   guilty to drug charges that do not carry mandatory minimum
21
           7
               The Court has sentenced two of these defendants at or
22   near the top of the applicable Sentencing Guidelines range.
     Anthony Quin Wheeler pleaded guilty to one count of Use of a
23   Communication Facility in Committing a Felony Drug Offense. On
     May 1, 2009, this Court sentenced him to a 42-month term of
24   imprisonment. Gerald Plaze Thomas pleaded guilty to two counts
     of Use of a Communication Facility in Committing a Felony Drug
25   Offense. On February 18, 2009, this Court sentenced him to a 96-
     month term of imprisonment.
26
          Michael Lynn Twyman has pleaded guilty to two counts of Use
27   of a Communication Facility in Committing a Felony Drug Offense,
     pursuant to a binding Rule 11(c)(1)(C) plea agreement. If the
28   Court accepts his plea agreement, he will receive a 96-month
     sentence.

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 1   sentences.    Count 1 of the Indictment (Case No. CR 07-1049-VBF)
 2   alleges a conspiracy to manufacture, possess with intent to
 3   distribute, and to distribute approximately 262 grams of cocaine
 4   base.    This charge carries a 10-year mandatory term of
 5   imprisonment.     However, because Anthony Twyman has two prior
 6   felony drug convictions (the state 1989 and 1996), he would have
 7   faced either a 20-year or mandatory life sentence if the
 8   government filed one or more of the Section 851 enhancements.
 9   When Anthony Twyman's potential 20-year or life sentences is
10   compared to the 156-month sentence in the plea agreement, there
11   is no question that the negotiated sentence is reasonable.
12           Second, the government is deeply concerned about convicted
13   drug traffickers possessing firearms.         As set forth above,
14   despite being convicted in the state for illegally possessing a
15   firearm, Anthony Twyman continued to possess firearms and
16   ammunition.     This fact distinguishes Anthony Twyman from other
17   defendants who pleaded to Use of a Communication Facility in
18   Committing a Felony Drug Offense.         Therefore, the government
19   believes that Anthony Twyman must be held accountable for the
20   firearms violation.      An additional five-year sentence
21   accomplishes this goal.
22           Finally, the government crafted a sentence for Anthony
23   Twyman that was congruent with the sentences that his brothers
24   would receive.     Through negotiations with counsel, the government
25   determined that Anthony Twyman's conduct was more egregious than
26   Michael Lynn Twyman's conduct, but less egregious than Charles
27   Leroy Twyman's conduct.       Accordingly, Anthony Twyman's 156-month
28   sentence is between the sentences his two brothers may expect to


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 1   receive.
 2   C.    Probation Office's Recommendation
 3         In its recommendation letter, the Probation Office
 4   recommends "[a] sentence at the mid-point of the guideline range,
 5   namely 122 months . . . ."       (Letter of Brandi Foy to Court, dated
 6   11/9/09 (Docket No. 182) ("USPO Rec. Letter"), at 4.)            The
 7   Probation Office appears to agree that Anthony Twyman should
 8   receive 48-months for each count of Use of a Communication
 9   Facility in Committing a Felony Drug Offense.          (Id. at 1.)
10   However, the Probation Office disagrees that Anthony Twyman
11   should receive a 60-month consecutive sentence for the firearms
12   violation - instead arguing that 26 months is appropriate for
13   that count.     (Id.)   The Probation Office claims that its
14   recommended 122-month sentence "would be sufficient, but not
15   grater than necessary to comply with the purposes set forth in
16   18 U.S.C. § 3553(a)(2)."       (Id.)
17         The government disagrees with the Probation Office's
18   recommendation, and respectfully requests that the Court reject
19   it for the following reasons.
20         First, the Probation Office's recommendation appears to be
21   tied almost entirely to the Sentencing Guidelines and the Section
22   3553(a) factors.      While both are a acceptable starting places,
23   neither controls, because "[a] sentence imposed under a Rule
24   11(c)(1)(C) plea arises directly from the agreement itself, not
25   from the Guidelines."      Cieslowski, 410 F.3d at 364 (emphasis
26   added).    The Probation Office's mechanical reliance on the
27   Sentencing Guidelines and Section 3553(a) factors in the context
28   of a Rule 11(c)(1)(C) plea ignores other factors that the Court


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 1   must consider when evaluating the plea to determine whether it
 2   "in the interest of justice" and "complies with and advances the
 3   purpose of criminal sentencing as expressed by Congress."
 4   Samueli, 575 F. Supp. 2d at 1158-59.
 5         Second, the Probation Office did not consider the charging
 6   decisions made by the government.         See United States v. Miller,
 7   722 F.2d 562, 564 (9th Cir. 1983) ("When a prosecutors selects a
 8   charge, he has made an executive choice.          When a judge sentences
 9   a defendant, he has made a judicial choice.          When a plea bargain
10   is placed before a court, the necessary interplay between the
11   charging and sentencing decisions becomes manifest.").            As set
12   forth above, the government did not require Anthony Twyman to
13   plead guilty to the conspiracy charge.         Nor did the government
14   file any Section 851 enhancements.         Had the government done both
15   of these things, Anthony Tywman would have been subjected to a
16   prison term far greater than 156 months.          In that context, the
17   negotiated sentence is reasonable.
18         Third, the Probation Office appears to treat Anthony
19   Twyman's criminal history lightly:         "[t]he Probation Officer does
20   not believe the criminal history discussed above warrants an
21   upward departure pursuant to U.S.S.G. §4A1.3 . . . ."            (USPO Rec.
22   Letter, at 4.)     In addition to improperly relying on the
23   Sentencing Guidelines, the Probation Office all but ignores the
24   fact that Anthony Twyman has been convicted twice of drug-
25   trafficking crimes (one of which involved crack cocaine) and
26   convicted once of illegally possessing a firearm.           The Probation
27   Office also appears to downplay the fact that Anthony Twyman
28   possessed the firearms and ammunition during the same period


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 1   during which he was helping his brothers traffic crack cocaine.
 2         Fourth, the Probation Office did not give any weight to the
 3   fact that both Anthony Twyman and the government agreed to the
 4   156-month sentence.      The fact that the Probation Office feels
 5   that the agreed upon sentence does not "warrant[] an upward
 6   departure" is not relevant.       What is relevant is that the parties
 7   had a meeting of the minds and reached a negotiated agreement
 8   that both parties believed was fair and just.          While the parties'
 9   meeting of the minds in now way replaces the careful analysis of
10   the plea agreement by the Court, the negotiations between the
11   parties cannot be ignored.
12         Finally, when it asks the Court to sentence Anthony Twyman
13   below 156 months, the Probation Office asks the Court to accept
14   the plea agreement on a piecemeal basis.          This request is not
15   proper.    See Morgan, 5056 F.3d at 709 ("Although the Court is
16   free to accept or reject the plea agreement, it may not do so on
17   a piecemeal basis, and the Rule 11(c)(1)(C) stipulated sentence
18   is binding upon the court's acceptance of the plea agreement.")
19   Therefore, rather than reject the plea agreement, the government
20   respectfully requests that the Court accept the Rule 11(c)(1)(C)
21   plea and sentence Anthony Twyman pursuant to the terms of that
22   plea agreement.
23                                         V
24                                WAIVER OF APPEAL
25         In his plea agreement, Anthony Twyman waived his right to
26   appeal this sentence, if the sentence is within the statutory
27   maximum and is constitutional, and the Court imposes the sentence
28   agreed to by the parties.       (Plea Agreement ¶ 19.) Accordingly, if


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 1   the Court chooses to advise Anthony Twyman of his limited
 2   appellate rights, the government respectfully requests that the
 3   Court note on the record that Anthony Twyman has waived most of
 4   his appellate rights.
 5                                        VI
 6                                    CONCLUSION
 7         For the reasons set forth above, the government respectfully
 8   requests that the Court accept the plea agreement sentence
 9   Anthony Twyman to a term of imprisonment of 156 months, a 3-year
10   term of supervised release, no fine, and a $300 special
11   assessment.
12
13   Dated: October 28, 2009       Respectfully submitted,
14                                 GEORGE S. CARDONA
                                   Acting United States Attorney
15
                                   CHRISTINE C. EWELL
16                                 Assistant United States Attorney
                                   Chief, Criminal Division
17
18                                 /s John J. Lulejian
                                   JOHN J. LULEJIAN
19                                 SHAWN J. NELSON
                                   Assistant United States Attorney
20                                 Violent & Organized Crime Section
21                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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 1                                         CERTIFICATE OF SERVICE

 2             I, RAQUEL MORAN, declare:

 3             That I am a citizen of the United States and resident or employed in Los Angeles County,

 4       California; that my business address is the Office of United States Attorney, United States

 5       Courthouse, 312 North Spring Street, Los Angeles, California 90012; that I am over the age of

 6       eighteen years, and am not a party to the above-entitled action;

 7             That I am employed by the United States Attorney for the Central District of California

 8       who is a member of the Bar of the United States District Court for the Central District of

 9       California, at whose direction I served a copy of:

10       GOVERNMENT’S POSITION RE: PRESENTENCE REPORT AND SENTENCING
         FACTORS FOR DEFENDANT ANTHONY DEWAYNE TWYMAN
11

12       service was:

13       [X]   Placed in a closed                     [ ]     Placed in a sealed
               envelope, for collection                       envelope for collection and
14             and interoffice delivery                       mailing via United States Mail,
               addressed as follows:                          addressed as follows:
15
         []    By hand delivery                       [ ]     By facsimile as follows:
16             addressed as follows:

17       []    By messenger as follows:               [ ]     By federal express as follows:

18
         USPO BRANDI FOY
19       U.S. Probation Office
         600 U.S. Courthouse
20       312 N. Spring Street
         Los Angeles, CA 90012
21
               This Certificate is executed on October 28, 2009, California.
22
               I certify under penalty of perjury that the foregoing is true and correct.
23

24
                                                               s/Raquel Moran
25                                                            RAQUEL MORAN

26

27

28
